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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


Carla Hoover, et al.,                            :
                                                 :
               Plaintiffs,                       :            Case No. 2:19-cv-01453
                                                 :
       v.                                        :            Judge Smith
                                                 :
Steven G. Rosser, et al.,                        :            Magistrate Judge Jolson
                                                 :
               Defendants.                       :


                                  NOTICE OF APPEARANCE

       Barton R. Keyes, Esq., of the Columbus law firm Cooper & Elliott, hereby submits his

notice of appearance as additional counsel of record for all plaintiffs.


                                               Respectfully submitted,


                                               /s/ Barton R. Keyes
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  Case: 2:19-cv-01453-GCS-KAJ Doc #: 3 Filed: 04/23/19 Page: 2 of 2 PAGEID #: 27



                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing Notice of Appearance was filed

electronically and served on the defendants at the addresses listed in the complaint, this 23rd day

of April, 2019.


                                              /s/ Barton R. Keyes




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